21-51297-cag Doc#2-1 Filed 10/23/21 Entered 10/23/21 13:36:41 Exhibit A-1 (State
                        Court Action Docket) Pg 1 of 3




                       EXHIBIT A-1
10/22/2021        re:SearchTX - MATHESON21-51297-cag         Doc#2-1
                                         TRI-GAS, INC. -VS- SPEED      FiledGAS,
                                                                  INDUSTRIAL 10/23/21
                                                                                 LLC, JOSHEntered   10/23/21
                                                                                           BALDAUF, SCOTT     13:36:41
                                                                                                          BURRIS,         ExhibitBRIAN
                                                                                                                  JASON FULCHER,  A-1JACKSON,
                                                                                                                                       (State ROBERT LEAL, DANIEL OLIVAREZ, AND…
                                                                                 Court Action Docket) Pg 2 of 3
   https://research.txcourts.gov/CourtRecordsSearch/ViewCasePrint/13cd0a275cfe5f72a764a3c05575307d

    Case Information
    MATHESON TRI-GAS, INC. -VS- SPEED INDUSTRIAL GAS, LLC, JOSH BALDAUF, SCOTT
    BURRIS, JASON FULCHER, BRIAN JACKSON, ROBERT LEAL, DANIEL OLIVAREZ, AND
    RICHARD SCHOBINGER
    21-08-0714-CVA
    Location                                           Case Category                                   Case Type
    Atascosa County - District Clerk                   Civil - Other Civil                             Other Civil



    Parties         9


    Type                                    Name                                                     Attorneys

    Plaintiff                               MATHESON TRI-GAS, INC.                                   SEELY,CHARLES "MIKE" MICHAEL

    Defendant                               BALDAUF, JOSH                                            MARBLE,REAGAN M.

    Defendant                               BURRIS, SCOTT                                            BLAIR,TRACE R.

    Defendant                               FULCHER, JASON

    Defendant                               JACKSON, BRIAN

    Defendant                               LEAL, ROBERT

    Defendant                               OLIVAREZ, DANIEL

    Defendant                               SCHOBINGER, RICHARD

    Defendant                               SPEED INDUSTRIAL GAS, LLC                                MANN,JULIA W.


    Events          27


    Date                 Event              Type                                   Comments                          Documents

    8/20/2021            Filing             Petition                               Plaintiff's Verified Original Combine.pdf
                                                                                   Petition, Request for
                                                                                   Temporary Restraining Order
                                                                                   and Temporary and Permanent
                                                                                   Injunctions

    8/23/2021            Filing             Motion (No Fee)                        Defendants' Unopposed             SIG_Matheson_ PHV Motion for A. Israel.pdf
                                                                                   Motion for Admission Pro Hac
                                                                                   Vice for Adam K. Israel

    8/23/2021            Filing             No Fee Documents                       Rule 11 Agreement                 RULE 11 AGREEMENT.pdf

    8/30/2021            Filing             Proposed Order                         Agreed Confidentiality &          Agreed Protective Order.pdf
                                                                                   Protective Order

    9/3/2021             Filing             Answer/Response                        Defendants' Answer                Defendants' Answer to Petition.pdf

    9/7/2021             Filing             No Fee Documents                       Matheson Tri-Gas, Inc.'s Rule     Rule 193.7.pdf
                                                                                   193.7 Notice

    9/7/2021             Filing             Notice                                 Notice of Subpoena (EPMP          Notice of Subpoena (EPMP Ltd).pdf
                                                                                   Ltd)

    9/7/2021             Filing             Notice                                 Notice of Subpoena (Scott         Notice of Subpoena (Scott Oberheide).pdf
                                                                                   Oberheide)

    9/9/2021             Filing             No Fee Documents                       Subpoena (Scott Oberheide)        Subpoena (Scott Oberheide) Return of Service.pdf
                                                                                   Return of Service

    9/10/2021            Filing             Motion for Contempt                    Plaintiff Matheson Tri-Gas,       Verified Motion.pdf
                                                                                   Inc.'s Verified Motion for
                                                                                   Issuance of Show Cause
                                                                                   Order, Contempt, Sanctions,
                                                                                   and Emergency Hearing

    9/10/2021            Filing             Notice                                 Notice of Hearing                 Notice of Hearing.pdf

    9/13/2021            Filing             Motion (No Fee)                        Motion to Withdraw                Motion to Withdraw.pdf

    9/13/2021            Filing             Notice                                 Notice of Hearing                 Notice of Hearing - Motion to Withdraw.pdf

    9/13/2021            Filing             No Fee Documents                       E.P.M.P., LTD. Subpoena           E.P.M.P. LTD. AOS.pdf
                                                                                   Return of Service

    9/14/2021            Filing             Motion (No Fee)                        Motion for Continuance of         Motion to Continue Emergency Hearing.pdf
                                                                                   Emergency Hearing

    9/14/2021            Filing             Motion (No Fee)                        Motion to Quash Deposition        Motion to Quash Depositions Notices pdf
https://research.txcourts.gov/CourtRecordsSearch/#!/casePrintView/13cd0a275cfe5f72a764a3c05575307d                                                                           1/2
10/22/2021        re:SearchTX - MATHESON21-51297-cag         Doc#2-1
                                         TRI-GAS, INC. -VS- SPEED      FiledGAS,
                                                                  INDUSTRIAL 10/23/21
                                                                                 LLC, JOSHEntered   10/23/21
                                                                                           BALDAUF, SCOTT     13:36:41
                                                                                                          BURRIS,         ExhibitBRIAN
                                                                                                                  JASON FULCHER,  A-1JACKSON,
                                                                                                                                       (State ROBERT LEAL, DANIEL OLIVAREZ, AND…
    9/14/2021           Filing              Motion (No Fee)                      Court Action
                                                                                  Motion      Docket)
                                                                                         to Quash     Pg 3 of 3Motion to Quash Depositions Notices.pdf
                                                                                                  Deposition
    Date                Event               Type                                   Comments                       Documents
                                                                                   Notices



    9/14/2021           Filing              Answer/Response                        Matheson Tri-Gas, Inc.'s    MTG's Response to Speed's MTQ.pdf
                                                                                   Response to Defendant Speed
                                                                                   Industrial Gas, LLC???s
                                                                                   Motion to Quash Depositions

    9/14/2021           Filing              Notice                                 Amended Notice of Hearing      Amended Notice of Hearing - MTW MTC MTQ.pdf

    9/14/2021           Filing              Amended Filing                         Amended Motion to Withdraw     Amended Motion to Withdraw and Substitute.pdf
                                                                                   and Substitute

    9/14/2021           Filing              Amended Filing                         Second Amended Notice of       2nd Amended Notice of Hearing MTW+S MTC MTQ.pdf
                                                                                   Hearing

    9/14/2021           Filing              Answer/Response                        Matheson Tri-Gas, Inc.'s       Matheson's Response to Speed's MTC.pdf
                                                                                   Response to Defendant Speed
                                                                                   Industrial Gas, LLC???s
                                                                                   Motion to Continue Emergency
                                                                                   Hearing

    9/14/2021           Filing              Amended Filing                         Amended Motion to Continue     Motion to Continue Emergency Hearing.pdf
                                                                                   Emergency Hearing

    9/15/2021           Filing              No Fee Documents                       2021-09-15 Rule 11             2021-09-15 Rule 11 Agreement.pdf
                                                                                   Agreement

    9/28/2021           Filing              Amended Filing                         Plaintiff's Verified First   Verified First Amended Petition.pdf
                                                                                   Amended Petition and Request
                                                                                   for Temporary and Permanent
                                                                                   Injunctions

    9/30/2021           Filing              Notice                                 Defendants' Notice of Non-     Notice of Non-Opposition to Entry of TI.pdf
                                                                                   Opposition to Entry of
                                                                                   Temporary Injunction

    10/5/2021           Filing              Request                                2021-10-05 Clerk Letter        2021-10-05 Clerk Letter.pdf

    10/6/2021           Filing              No Fee Documents                       Reporter Certification Oral    Reporter Certification Deposition of Clint Plant.pdf
                                                                                   Videotaped Deposition of
                                                                                   CLINT PLANT


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https://research.txcourts.gov/CourtRecordsSearch/#!/casePrintView/13cd0a275cfe5f72a764a3c05575307d                                                                           2/2
